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      EXHIBIT 141-B
        Redacted Version of
Document Sought to be Sealed
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   These are issues where we are trying to balance the rights of different parties. There is no single right answer but
   people will rather take different views of the trade-offs and where we should land. We should consult widely on all
   possible models but this can be informed by how we think the balances will play out.

   A baseline standard for a "right" to data portability would be to offer a Fully Open Transfer capability only for Own
   Data. This can be met today by the DYi tool that Facebook provides (which also includes elements of Shared Data and
   Platform Data).

   If we see this as a genuine right, akin to a property right, then it is hard to see a scenario in which this Fully Open model
   will not be a requirement. It will be important to get clarity on the design of the transfer process and any guidance that
   can be offered by platforms so that their solutions are considered Fully Open and do not confer liability on the platform.

   It is in the interests of privacy that platforms should also be encouraged to develop ecosystems for Conditioned
   Transfers. These will allow for appropriate controls to be put in place that give additional assurances to users in relation
   to the privacy of their data.                              is a good example of how such an ecosystem might be built.

   It is important to recognise that this is not a substitute for the Fully Open Model but a complement to it. Concerns may
   be raised about differential treatment if there is additional functionality available for those eligible for Conditioned
   Transfers but as long as the conditions being applied are fair and reasonable it would be perverse to rule out a model
   which may incentivise good privacy practices.

   In practical terms, the difference between these two models would be largely in terms of ease of use. A Fully Open
   Transfer will require specific steps to confirm that requesting user fully understands the terms of the transfer and it may
   require more manual processes. A Conditioned Transfer may be smoother because a certain amount of due diligence
   was done before access was granted to that transfer method.

                                        in some senses beyond the scope of the "right" to data portability. It is not about an
   individual freely exercising their rights to move their data but rather an ongoing
           that involves the transfer of user data. It creates a framework within in which more types of data may be
   transferred, for example it may be possible to get user consents to transfer Shared Data or to offer enhanced Platform
   Data within these

   It is essential that there is real clarity around which model is being used and that this is apparent to all interested
   parties. A challenge with previous iterations of Platform has been a lack of clarity about which model is in
   play. Language used to describe it has had elements of both the Fully Open Model - it is users who make all the
   decisions about when to share their data - through to the                         - we impose meaningful conditions on
   developers.




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